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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )         4:07CR3107-2
                                         )
                  Plaintiff,             )
                                         )
      vs.                                )
                                         )         ORDER
MARIA B. DIX,                            )
                                         )
                  Defendant.             )

      The defendant has pleaded guilty and has withdrawn the motion to suppress.
Therefore,

     IT IS ORDERED that the motion to suppress (filing 26) and the report and
recommendation (filing 47) are denied as moot.

      March 13, 2008.                 BY THE COURT:

                                      s/ Richard G. Kopf
                                      United States District Judge
